                          Exhibit D




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1                      IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
2                                  CENTRAL DIVISION
3       DYLAN BRANDT, et al.,
4                               Plaintiffs,
           v.                                      No. 4:21CV00450 JM
5
                                                   November 28, 2022
6                                                  Little Rock, Arkansas
                                                   8:57 AM
7       LESLIE RUTLEDGE, et al.,
8                               Defendants.
9                        TRANSCRIPT OF BENCH TRIAL - VOLUME 5
                      BEFORE THE HONORABLE JAMES M. MOODY, JR.,
10                           UNITED STATES DISTRICT JUDGE
                                  __________________
11
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12
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24      Appearances continuing...
25




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1
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23           Proceedings reported by machine stenography.            Transcript
        prepared utilizing computer-aided transcription.
24
25




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1              (Proceedings continuing in open court at 8:57 AM.)
2                    THE COURT:    Are y'all ready?
3                    MR. JACOBS:    Your Honor, Defendants are ready to
4       call, I guess, our next witness, not our first witness.             One
5       thing I wanted to check in on.        So Dr. Regnerus is prepared to
6       testify remotely tomorrow, and I wanted to ask at what time the
7       Court could begin tomorrow with the hope that it could begin I
8       guess as early as we can make it happen.          Because Dr. Regnerus
9       is testifying late in the evening from where he's located, so
10      just to avoid him having to run into testifying in the wee
11      hours of the early morning, if we could start as early as we
12      can.   I recognize that --
13                   THE COURT:    I expect this will likely make everybody
14      cringe, but courthouse opens at 7:30.
15                   MR. JACOBS:    Could we -- I think he'd be available
16      to start at like 8:00.
17                   THE COURT:    That's fine.     That would give everybody
18      time to get in the building and get settled and we could make
19      sure stuff is up.
20                   MR. JACOBS:    Okay.    That's all the preliminary
21      matters that we have.
22                   THE COURT:    So with an asterisk, you've got my
23      entire week.    What are your thoughts on how long you're going
24      to take?
25                   MR. JACOBS:    Our witnesses will be done Thursday and




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1       we'll rest on Thursday.
2                    THE COURT:    I've got two sentencings, one at 1:00
3       and one at 2:00 on Wednesday.        Those usually last 30 minutes,
4       so we're probably going to work a little later into lunch on
5       Wednesday.
6                    MR. JACOBS:    That won't be a problem, Your Honor.
7                    THE COURT:    And then it looks like I've got a lunch
8       hearing on the 1st.      Okay.   That's what is on my schedule other
9       than you guys.     So are we ready to jump back in?
10                   MR. JACOBS:    We're ready, Your Honor.        Defendants
11      will call Dr. Stephen Levine.
12                   THE COURT:    Sir, if you could come on the far side
13      of that silver rail.      Good morning.
14                STEPHEN LEVINE, DEFENDANTS' WITNESS, DULY SWORN
15                                  DIRECT EXAMINATION
16      BY MR. CANTRELL:
17      Q      Good morning, Dr. Levine.
18      A      Good morning.
19      Q      Can you state your name and spell it for the record.
20      A      Stephen, S-t-e-p-h-e-n, Barrett, B-a-r-r-e-t-t, Levine,
21      L-e-v-i-n-e.
22      Q      Thank you.    Dr. Levine, can you tell us what academic and
23      clinical positions that you currently hold?
24      A      I am clinical professor of psychiatry at Case Western
25      Reserve University.      I'm a staff psychiatrist in a group




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   1    Q.    And switching back to adults, you've written letters

   2    of authorization for adults seeking gender-affirming

   3    surgeries.      Is that correct?

   4    A.    I have.

   5    Q.    And you've done that as recently as the past two

   6    years.

   7    A.    I have.

   8    Q.    And you've also written letters authorizing hormone

   9    therapy for adult patients with gender dysphoria.

  10    A.    I have.

  11    Q.    And these are letters they can take to the

  12    endocrinologist.       Is that right?

  13    A.    Yes.

  14    Q.    And you have written such letters approving hormone

  15    therapy for minors under 18 in a few cases within the past

  16    five years, haven't you?

  17    A.    I don't think in the past five years.

  18    Q.    Okay.     Can we turn to Dr. Levine's deposition, page

  19    78?

  20          I would like you to read along with me starting on

  21    line 3.      So between you and Mrs. Novak, there have been a

  22    handful of cases in the past, say, five years where you

  23    have approved hormone therapy for minor.               Is that right?

  24          These are particularly fraught difficult

  25    circumstances, yes.



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   1    A.    Yes.

   2    Q.    Mrs. Novak is someone who works in your medical

   3    practice -- or your psychiatry practice?

   4    A.    She's a younger colleague of mine.

   5    Q.    That was your testimony.

   6    A.    I'm sorry?

   7    Q.    That was your testimony that I read correctly.

   8    A.    Yes.   I'm just not sure today whether it's five years

   9    or six years now.        And in generally, there have been a few

  10    very fraught cases where we felt that this is a very

  11    reasonable thing given the severity, the complexity of the

  12    case, and that we would -- we, along with parents, would

  13    hold our breath that this would be of help.

  14    Q.    And you have cosigned letters for hormone therapy for

  15    minors written by Mrs. Novak, again, approving some minors

  16    for hormone therapy.         Is that right?

  17    A.    Yes, but this has not occurred very recently, Ms.

  18    Cooper.

  19    Q.    You would not write a letter supporting hormone

  20    therapy for a minor if you did not believe the patient had

  21    gender dysphoria, correct?

  22    A.    Correct.

  23    Q.    And you would not write a letter approving a minor

  24    for hormone therapy without first determining that they

  25    had a longstanding, stable gender identity.                Is that



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   1    much more cautious.        We will give adolescents hormones,

   2    but not as quickly as the Standards of Care would like.

   3          That was your testimony in Keohane.

   4    A.    I have to say yes.

   5    Q.    And just to clarify, the Standards of Care you're

   6    referring to in the 7th Edition, is that the WPATH's

   7    Standards of Care 7th Edition?

   8    A.    Yes.

   9    Q.    When you were deposed in May of this year in this

  10    case, the Brandt case, you testified, did you not, that

  11    going forward you have not made a decision to no longer

  12    write letters approving hormone therapy for patients under

  13    18 years of age.

  14    A.    Indulge me a minute.         In the previous thing you put

  15    up, my deposition of adolescents was not the definition I

  16    gave to the Judge earlier this morning.               It was my

  17    definition of an adolescent is somebody 19 years of age.

  18    And so if you reread that, it would include 18-year-olds

  19    and 19-year-olds.

  20          So would you repeat the last question you asked me?

  21    Q.    Sure.    When you were deposed this past May in this

  22    case in Arkansas, you testified that, going forward, you

  23    have not made a decision to categorically not write

  24    letters approving hormone therapy for patients under 18,

  25    correct?



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    1   A.    I don't remember saying that, but if you have that, I

    2   trust you.

    3   Q.    Yeah.     I think we want to put that in the record.

    4         Can we look at deposition page 227?

    5         And if you go to line 3, part way through beginning

    6   with the words, "Have you made a decision."                Are you with

    7   me?    It's highlight.

    8         Have you made a decision to no longer consider

    9   hormone therapy for anybody who has not reached their 18th

   10   birthday since you provided those letters?

   11         Answer:     I've made a decision to be very cautious and

   12   to put a period of time in therapy between me and the

   13   letter.

   14         You go on to say more, which you're welcome to read

   15   if you would like, but I want to continue on to another

   16   passage that picks up rather than taking the Court's time

   17   reading a lot of discussion in between.

   18         If we could turn to page 228, line 3.              Let me know if

   19   you want to review there.

   20               MR. CANTRELL:       Your Honor, I would like to just,

   21   if we could, take a look at the intervening testimony,

   22   glance at that.

   23               MS. COOPER:      Sure.    We can post that.

   24   Absolutely.

   25               THE COURT:      I thought you were in the



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    1   deposition, Mr. Cantrell, but go ahead.

    2   BY MS. COOPER:

    3   Q.    Do you have that in front of you now, Doctor?                 If you

    4   look at line 3 and read along with me.

    5         So I'm not sure if that answers my question.                 Have

    6   you made a decision to no longer provide letters?

    7         Answer:     Oh, I'm sorry.       No, I haven't made that

    8   decision.

    9         Question:      So would it be a case-by-case basis if

   10   there were a patient that you felt it was appropriate for

   11   you -- appropriate for, you would consider doing it, say,

   12   a 17-year-old or a 16-year-old?

   13         Mr. Cantrell:       Object to form.

   14         Answer:     I don't have a -- yes.         The answer to your

   15   question is yes.

   16         I'm not going to ask you if that was your testimony

   17   again --

   18   A.    Thank you.

   19   Q.    -- since I see how you love those questions.

   20         Now, today you testified that you would not recommend

   21   hormone therapy for patients under 18.               Do you mean you

   22   would not generally recommend hormone therapy as a general

   23   matter?

   24   A.    Yes.

   25   Q.    So there may be exceptional cases where you would



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    1   still consider it appropriate.

    2   A.    Yes.    These are very fraught circumstances.              I think

    3   all of us all over the world recognize that we are under

    4   very difficult circumstances sometimes.               We don't know

    5   what to do and we eventually go along with the patient's

    6   sincere desire to try hormones.

    7   Q.    Now, you talked on direct about an article you wrote

    8   called, Reconsidering Informed Consent for

    9   Trans-identified Children, Adolescents, and Young Adults.

   10         And I just want to ask you a couple of questions

   11   about that article.

   12         In this article, you recommend informed content

   13   process that you think providers should undertake before

   14   authorizing medical or surgical transition for minors,

   15   correct?

   16   A.    Yes.

   17   Q.    I'd like to pull up a passage from that article to

   18   show you.      If we can look at page 2.          And I have some

   19   material highlighted.         Actually, I would like you to skip

   20   to -- sorry.       I wasn't in front of the mic.           I would like

   21   to skip to the second highlighted paragraph.

   22   A.    I know what you're you talking about.

   23   Q.    We over highlighted.         If you'll read along with me in

   24   the second paragraph there.

   25         Social transition, hormonal interventions, and



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   1               MS. TEMPLIN:     Apologies.

   2               MR. JACOBS:     That's what we would suggest.        Dr.

   3    Lappert is willing to change around his travel to make that

   4    work.   I think we went a little bit longer with Dr. Levine than

   5    we anticipated.     We hoped to be able to do both today.         So long

   6    as the Court has tomorrow afternoon available, so long as

   7    there's not any objections on that end, I think we could switch

   8    those and get everything done.

   9               THE COURT:     The only thing I have in my week that's in

  10    y'all's way is the one o'clock 30 minute and the two o'clock 30

  11    minute on Wednesday, then the noon hour on Thursday.

  12               MR. JACOBS:     Neither of those will be problems on our

  13    end, Your Honor.     If that's acceptable to everybody, I think we

  14    will proceed with Dr. Regnerus tomorrow when we get everything

  15    set and then proceed with Dr. Lappert.

  16               THE COURT:     If we get both of them done tomorrow, how

  17    late do you anticipate going on Thursday?

  18               MR. JACOBS:     On Thursday, Your Honor, it could be a

  19    full day on Thursday.      I just don't know whether it's going to

  20    be sort of an early day out on Thursday or not at this point.

  21               THE COURT:     I'm just curious.

  22               MR. JACOBS:     Regardless of this, we'll still be

  23    totally done on Thursday with our witnesses.          That won't impact

  24    this at all.

  25               THE COURT:     All right.    Court is in recess until


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   1    eight o'clock tomorrow.

   2               MR. JACOBS:     Yes, Your Honor.

   3         (Overnight recess at 4:19 p.m.)

   4                             REPORTER'S CERTIFICATE

   5        I certify that the foregoing is a correct transcript from
        the record of proceedings in the above-entitled matter.
   6

   7    /s/Elaine Hinson, RMR, CRR, CCR            Date:   December 4, 2022.
        United States Court Reporter
   8

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